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Trial Ex. No.              Bates No.            Date                                 Subject/Description                            Expert/Report
                MODUSI 01 0 000001 -
TREX-00088      MODUSI 01 0 000345             4/14/10      ModuSpec Rig Condition Assessment Deepwater Horizon                        Wolfe
                BP-HZN-IIT-0002370 -
                BP-HZN-IIT-0002741       BP-
                HZN-MBI00131953 -                           Transocean Deepwater Horizon Emergency Response Manual, Volume 1
TREX-00597      BP-HZN-MBI00132325             2/15/08      of 2, Issue Number 02, Revision Number 04                                  Wolfe
                BP-HZN-2179MDL00141787 -                    Transocean Deepwater Horizon Operations Manual, Volume 1 of 2,
TREX-00671      BP-HZN-2179MDL00142399         12/1/04      Revision Number 02                                                         Wolfe
                TRN-HCEC-00090493 -
                TRN-HCEC-00090685
                TDD006-000505 -                             Lloyd’s Register Safety Management and Safety Culture/Climate Summary
TREX-00929      TDD006-000697                   7/2/10      Review for Deepwater Horizon                                               Wolfe
                TRN-MDL-0000488930 -                        Det Norske Veritas ISM Code Document of Compliance for Transocean
TREX-00953      TRN-MDL-0000488931             4/25/08      Offshore Deepwater Drilling Inc.                                           Wolfe
                KMI-MDL-002602 -
TREX-01102      KMI-MDL-002647                 6/27/06      Kongsberg Safety Philosophy ESD, PSD, and F&G, AIM Safe                    Wolfe
TREX-01105      KMI-MDL-021556                 1/28/01      Deepwater Horizon Cause and Effect Matrix                                  Wolfe
                KMI-MDL-001249 -                            Kongsberg - Overview Kongsberg Maritime Safety System (ESD and F &
TREX-01109      KMI-MDL-001264                 9/11/10      G) for Deepwater Horizon (RBS8D), Revision A, Version 0.3                  Wolfe
                KMI-MDL-001249 -                            Kongsberg Simrad Operator Manual Fire & Gas Deepwater Horizon,
TREX-01111      KMI-MDL-001264                 2/15/01      Revision A (As-built)                                                      Wolfe
                TRN-HCEC-00027279 -
                TRN-HCEC-00027295
                TRN-MDL-00069016 -                          Safety System Design Philosophy RBS8D Project “Deepwater Horizon”,
TREX-01118      TRN-MDL-00069032               8/23/00      rev. 2                                                                     Wolfe
TREX-01119                                     8/14/89      U.S. Coast Guard Navigation and Vessel Inspection Circular No. 2-89        Wolfe
                TRN-HCEC-00004727 -
                TRN-HCEC-00005236
                TRN-MDL-00046464 -                          Transocean Health and Safety Policies and Procedures Manual, Issue
TREX-01449      TRN-MDL-00046973               12/15/09     Number 03, Revision 07                                                     Wolfe
                TRN-HCEC-00006423 -
                TRN-HCEC-00006783
                TRN-MDL-00048160 -                          Transocean Deepwater Horizon Emergency Response Manual, Volume 1
TREX-01453      TRN-MDL-00048520               8/31/08      of 2, Issue Number 02, Revision Number 06                                  Wolfe




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                TRN-HCJ-00128051 -                               Det Norske Veritas Safety Management Certificate for Deepwater Horizon
TREX-01776      TRN-HCJ-00128052                 7/11/07         issued under the authority of the Republic of the Marshall Islands            Wolfe
                                                                 E-Mail - From: Rodriguez, Angel Sent: Tue Mar 30 01:03:37 2010 -
                BP-HZN-2179MDL00033637 -                         Subject: Deepwater Horizon's Rig Audit close out report status (includes
TREX-01832      BP-HZN-2179MDL00033638[3]        3/30/10         attached Deepwater Horizon BP CMID Audit Work List)                           Wolfe
                BP-HZN-BLY00294766 -                             Deepwater Horizon Follow Up Rig Audit, Marine Assurance Audit and Out
TREX-01887      BP-HZN-BLY00294825               9/30/09         of Service Period September 2009                                              Wolfe
                TRN-MDL-01100247 -                               ABS Survey Manager Survey Status Report (For Owner) Deepwater
TREX-03074      TRN-MDL-01100318                  5/1/10         Horizon                                                                       Wolfe
                TRN-MDL-00171605
TREX-03075      TRN-MDL-00171893                                 Deepwater Horizon Licensing Information from ABS                              Wolfe
                HCG 059-000026
TREX-03746      TRN-MDL-00265612                 4/21/10         U.S. Coast Guard Witness Statement of Curt Kuchta                             Wolfe
                TRN-INV-01138417 -
TREX-04140      TRN-INV-01138422                8/09 - 4/10      RMS for Gas Detection Maintenance, Aug. 2009-Apr. 2010                        Wolfe
                TRN-INV-00842534 -
TREX-04145      TRN-INV-00842536                 7/15/10         SPM01-Gas Detector Checks-Work Done Report - 20 Apr 2010                      Wolfe
                TRN-MDL-00079093 -
TREX-04146      TRN-MDL-00079190             1/1/10 - 5/6/2010   RMS II Equipment History, FGDS System (01 Jan 2010 – 06 May 2010)             Wolfe
                HCG059-000120
                TRN-HCJ-00121062
TREX-04361      TRN-MDL-00265564                 4/21/10         U.S. Coast Guard Witness Statement of Steve Bertone                           Wolfe
                HCG 059-000103-104
                TRN-MDL-00120330 -
TREX-04370      TRN-MDL-00120331                 4/21/10         U.S. Coast Guard Witness Statement of Paul Meinhart                           Wolfe
                BP-HZN-2179MDL01270743 -                         E-mail from Angel Rodriguez to Murry Sepulvado Dated October 7, 2009
TREX-04377      BP-HZN-2179MDL01270920           10/7/09         with BP CMID MODU Annex for Deepwater Horizon, Sep. 2009                      Wolfe
                HCG059-000126
TREX-04469      TRN-MDL-00265400                 4/21/10         U.S. Coast Guard Witness Statement of Andrea Fleytas                          Wolfe
                                                                 Transocean Deepwater Horizon Emergency Response Manual, Station Bill,
TREX-04603      TRN-MDL-00527083                 6/18/09         Revision 8                                                                    Wolfe
                BP-HZN-CEC043461 -                               BP Deepwater Horizon Integrated Acceptance Audit, August - September
TREX-06164      BP-HZN-CEC043570                 9/14/01         2001                                                                          Wolfe




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                 BP-HZN-2179MDL01797388 -
 TREX-06165      BP-HZN-2179MDL01797450         1/29/05     BP Deepwater Horizon Technical Audit, January 2005                           Wolfe
                 BP-HZN-MBI00050937 -
 TREX-06166      BP-HZN-MBI00051018             1/23/08     BP Deepwater Horizon Technical Rig Audit, January 2008                       Wolfe
                                                            Expert Report of Jeff L. Wolfe
                                                            Deepwater Horizon – Seaworthiness, Marine System, and Safety Condition
 TREX-50003                                                 on April 20, 2010                                                            Wolfe
TREX-50003.01                                               Curriculum Vitae of Jeff Wolfe                                               Wolfe
                                                            Figure 1 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
TREX-50003.02                                  9/23/2011    Point Locations throughout the Rig                                           Wolfe
                                                            Figure 2 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
TREX-50003.03                                  9/23/2011    Point Locations on the Drill Floor and Helideck                              Wolfe
                                                            Figure 3 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
TREX-50003.04                                  9/23/2011    Point Locations on the Main Deck                                             Wolfe
                                                            Figure 4 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
                                                            Point Locations on the Second Deck; Green Blocks Represent the Shale
TREX-50003.05                                  9/23/2011    Shakers                                                                      Wolfe
                                                            Figure 5 in Jeff Wolfe Expert Report - Automated Sensor and Manual Call
                                                            Point Locations on the Third Deck; Yellow Blocks Represent the
TREX-50003.06                                  9/23/2011    Engine/Generator Rooms; Blue Blocks Represent the Mud Pumps                  Wolfe
                                                            Figure 6 in Jeff Wolfe Expert Report - Alarm Indication Panels on the
TREX-50003.07                                  9/23/2011    Deepwater Horizon                                                            Wolfe
                                                            Figure 7 in Jeff Wolfe Expert Report - Photograph of Deepwater Horizon
TREX-50003.08                                  9/23/2011    Driller Workstation.                                                         Wolfe
                                                            Figure 8 in Jeff Wolfe Expert Report - Electro-pneumatic Overspeed Trip
TREX-50003.09                                  9/23/2011    Device                                                                       Wolfe

TREX-50003.10                                  9/23/2011    Figure 9 in Jeff Wolfe Expert Report - Mechanical Overspeed Trip Device      Wolfe
                                                            Figure 10 in Jeff Wolfe Expert Report - Photograph and Diagrams of Rig
TREX-50003.11                                  9/23/2011    Saver Device                                                                 Wolfe
                                                            American Bureau of Shipping Certificate of Classification, Deepwater
 TREX-50324      TRN-MDL-00272528              10/19/09     Horizon, A1, Column Stabilized Drilling Unit, AMS, ACCU, DPS-3               Wolfe
                                                            American Bureau of Shipping Drydocking Survey Checklist, Report
 TREX-50325      ABSDWH004017-4020                n/a       Number MC1722260-D                                                           Wolfe




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                TRN-MDL-01134503 -                         American Bureau of Shipping Statutory Survey Report for Deepwater
TREX-50326      TRN-MDL-01134513               9/25/09     Horizon, Report Number MC1722260                                             Wolfe
                TRN-MDL-01100188 -                         American Bureau of Shipping Statutory Survey Report for Deepwater
TREX-50327      TRN-MDL-01100194               3/11/10     Horizon, Report Number MC1794166                                             Wolfe
                TRN-HCJ-00076328 -                         IADC Daily Drilling Report Report, Apr. 18, 2010, Deepwater Horizon at MC
TREX-50328      TRN-HCJ-00076331               4/18/10     252#1 ST0D                                                                   Wolfe
                TRN-MDL-00272560 -
TREX-50329      TRN-MDL-00272562               6/11/06     Mobile Offshore Drilling Unit Safety Certificate (1989), Deepwater Horizon   Wolfe
                TRN-MDL-01101586 -                         Republic of the Marshall Islands Report of Safety Inspection for
TREX-50330      TRN-MDL-01101589              12/22/09     MODU/MOU, Date of Inspection: 17-Dec-09.                                     Wolfe
                TRN-INV-00085711 -                         RMS II Equipment History report, System: ELPG, Component: ENG, 16
TREX-50331      TRN-INV-00085816               3/16/10     Mar 2009 to 16 Mar 2010                                                      Wolfe
                PSC-MDL2179014036 -                        Subpoena Response of Wartsila North America to BP MDL Plaintiffs’
TREX-50332      PSC-MDL2179014074              7/19/11     Steering Committee                                                           Wolfe
TREX-50333      TRN-MDL-00030777              11/22/09     Transocean Deepwater Horizon Safety Drill Report, Abandon Ship Drill         Wolfe
TREX-50334      TRN-MDL-00030749              10/18/09     Transocean Deepwater Horizon Safety Drill Report, Fire Drill                 Wolfe
                TRN-INV-02643133 -
TREX-50335      TRN-INV-02643171                4/1/10     Transocean Deepwater Horizon Safety Drill Reports, Apr. 2010                 Wolfe
TREX-50336      TRN-MDL-01101583               7/27/09     U.S. Coast Guard Certificate of Compliance                                   Wolfe
TREX-50337      HCG059-000007                  4/21/10     U.S. Coast Guard Witness Statement of Brandon Boullion                       Wolfe
TREX-50338      HCG059-000008                  4/21/10     U.S. Coast Guard Witness Statement of Brian Dolliole                         Wolfe
TREX-50339      HCG059-000016.                 4/21/10     U.S. Coast Guard Witness Statement of Chad Murray                            Wolfe
TREX-50340      HCG059-000043                  4/21/10     U.S. Coast Guard Witness Statement of Darin Rupinski                         Wolfe
TREX-50341      HCG059-000049                  4/22/10     U.S. Coast Guard Witness Statement of David Young                            Wolfe
TREX-50342      HCG059-000056                  4/21/10     U.S. Coast Guard Witness Statement of Eric Estrada                           Wolfe
TREX-50343      HCG059-000059                  4/21/10     U.S. Coast Guard Witness Statement of Greg Meche                             Wolfe
TREX-50344      HCG059-000043                  4/21/10     U.S. Coast Guard Witness Statement of Kevin Eugen                            Wolfe
TREX-50345      HCG059-000090                  4/21/10     U.S. Coast Guard Witness Statement of Michael Williams                       Wolfe
TREX-50346      HCG059-000094                  4/21/10     U.S. Coast Guard Witness Statement of Miles Randall Ezell                    Wolfe
TREX-50347      HCG059-000114                  4/21/10     U.S. Coast Guard Witness Statement of Shane Faulk                            Wolfe
TREX-50348      HCG059-000115                  4/21/10     U.S. Coast Guard Witness Statement of Stanley Carden                         Wolfe
TREX-50349      HCG059-000123                  4/21/10     U.S. Coast Guard Witness Statement of Steven Richards                        Wolfe
TREX-50350      HCG059-000142                  4/21/10     U.S. Coast Guard Witness Statement of Yancy Keplinger                        Wolfe
                                                           43 U.S.C. § 1348 - Sec. 1348. Enforcement of safety and environmental
TREX-50351                                                 regulations                                                                  Wolfe



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TREX-50352                                        33 C.F.R. § 146.205 - Requirements for Foreign MODUs                            Wolfe
                                                  46 C.F.R. § 107.267; Coast Guard Marine Safety Manual, Vol. II, Section
TREX-50353                                        B, Chapter 3                                                                    Wolfe
TREX-50354                                        46 C.F.R. Part 8, Subpart D - Alternate Compliance Program                      Wolfe
TREX-50355                                        46 U.S.C. § 3316 - Sec. 3316. Classification Societies                          Wolfe
                                                  ABS Rules for Building and Classing Steel Vessels, Part 4, Chapter 2,
TREX-50356                           1/1/12       Section 1, Subsection 7.5.                                                      Wolfe
                                                  Code for the Construction and Equipment of Mobile Offshore Drilling Units,
TREX-50357                                        1989 (1989 MODU Code) with 1991 and 1994 amendments                             Wolfe
TREX-50358                                        International Convention for the Safety of Life at Sea (SOLAS)                  Wolfe

                                                  International Marine Contractors Association (IMCA), Guidelines for the
                                                  Design and Operation of Dynamically Positioned Vessels (available at
TREX-50359                        December 2007   http://www.imca-int.com/divisions/marine/publications/103.html)                 Wolfe
                                                  International Maritime Organization (IMO), Resolution A.890 (21),
TREX-50360                                        Guidelines for the Application of Principles of Safe Manning                    Wolfe
TREX-50361                                        International Safety Management (ISM) Code                                      Wolfe
                                                  Republic of the Marshall Islands Deepwater Horizon Marine Casualty
TREX-50362                           8/17/11      Investigation                                                                   Wolfe
                                                  Republic of the Marshall Islands Marine Notice 2-011-13 (available at
TREX-50363                                        http://www.register-iri.com/forms/upload/MN-2-011-13.pdf)                       Wolfe
TREX-50364                                        Republic of the Marshall Islands Maritime Act (MI-107) § 811(d)                 Wolfe
                                                  Republic of the Marshall Islands Mobile Offshore Drilling Unit Standards,
TREX-50365                         August 2002    Rev. 8/02                                                                       Wolfe
                                                  Schedule DPV to Marshall Islands Marine Notice No. 7-038-2, Minimum
                                                  Safe Manning Requirements for Vessels (available at http://www.register-
TREX-50366                                        iri.com/forms/upload/MN-7-038-2.pdf)                                            Wolfe
                                                  The International Convention for the Prevention of Pollution from Ships
TREX-50367                                        (MARPOL)                                                                        Wolfe
                                                  U.S. Coast Guard Navigation and Inspection Circular 3-88, Change 1
TREX-50368                                        (available at http://www.uscg.mil/hq/cg5/nvic/pdf/1988/n3-88ch1.pdf)            Wolfe
TREX-50369                                        United Nations Convention of the Law of the Sea                                 Wolfe




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